Case HG es ECF No. 1, PagelD.6 Filed 05/16/06 Page 1 of 50

55° Bs.

APPLICATIGN FOR WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2254 BY A
PERSON IN STATE CUSTODY

United States District Court Eastern District of Michigan
Name : Inmate Number: | Case Number (official use only)
Rufus Gene Lango 498 304

Place of Incarceration:

ST. Louis Correctional Facility, 8585 N. Croswell Rd., ST. Louis, MI 48880+9210

Name of Petitioner (Include the name under which you were incarcerated) Name of
Respondent (authorized person having custody over you)
RUFUS GENE LANGO VS - BLAINE LAFLER

The Attorney General of the State of: MICHIGAN

wT

PETITION
Name and location of court which entered! the judeement of comviction under attack:

Wayne County Courthouse, Tetroit. Mithican 42725

Nate of Judeement of conviction:
Case: 2:06-cv-12228

Juity 21, 2004 Assigned To: Battani, Marianne O
Referral Judge: Capel, Wallace
Leneth of Sentence: LIFE, UE te 40 vere: Filed: 05-16-2006 At 07:47 AM

HC LANGO VS LAFLER (LE)
“ature of offense involved (all counts): en oe oe.

~ Assault with totest be murder

“Rat was your nlea? (check one)

(b) Guilty ]
(2) Nolo contendere [ |

(a) Not guilty [x |
|
[

Tf you entered 4 euilty plea te one count oc indictment, and a not guilty plea
to another count or indictment, give details: Not applicable

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.7 Filed 05/16/06 Page 2 of 50

I€ you pleaded not guilty, what kind of trial. did you have? (eheck one)
fa) Jury rx]
(b>) Judee [ |

Nid you testify at the trial?
Yes [ | No [X]

Did you appeal from the judgment of conviction?
Yes [x] No f |

If you did appeal, answer the following:

(a) Mame of court: Michigan Court of Appeals

(b} Result: Denied

fe) Tate of result and citation. tf known: November 22, 2005.

(d) Grounds raised: See attachment A

fe) JF you sought firther review of tha decision on appeal by os bieher state
court, please answer the followin:

(1) Name of court: Michigan Supreme Court
(2) Result: Denied
(2) Date of result and citation, if known: March 77. 2006

(4) Grounds raised: See attachment B

(f) If you filed a petition for certiorari. im the United States Supreme Court,

(1) Name of court: Not applicable
{2} Result: Net applicable

(3) fate of result and citation. if known: Not applicable

(4) Grounds raised: Not applicable

Other than a direct appeal from judement of conviction and sentence, nave you
previously filed any petitions, apnlications, or motions with respect to this
judement in any court. state or federal?

Yes [ J ro [x]

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.8 Filed 05/16/06 Page 3 of 50

.

Tf your answer to 10 was 'yes'', give the following information:
(a) (1) Name of court: Not_applicable
(2) Nature of proceeding: Not applicable

(3) Grounds raised: Not applicable

(4) Did you receive an evidentiary nearing, on your petition, apnrlication,
or motion?

yas [ | io TX]

(os) As to any second petition, application, of motion give the same information:

(1) Same of court: Not applicable

(2) Nature of proceeding: Not applicable

(3) Grounds raised: Not_applicable

(4) Mid you reteive an evidentiary hearing on your petition, apolication,
or motion?
Yes [ | xo TX)

fe) Did you appeal to the highest state court having Jurisdiction the resilte of
action taken on any petition, application or motion?

(1) Birst petition, ect yes [| |] “Mo EX]
(2) Section petition, ect. Yes | J) Me fx

(1) TE you did not appeal. from the adverse action an any petition, aplication,
or ttotion explain briefly why vou did not: Not_applicable

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.9 Filed 05/16/06 Page 4 of 50

State concisely every eround on which you claim that you are being held

unlawfully Summarize bricfly the facts supporting each ground. Tf necessary, you

may attach pages stating additional grounds and facts supporting, same.

CAUTION: In order toe proceed in the federal court, you must ordinarily first

exaust your available state court remedies as to each sround on which you

request action by the federal court. If you fail to set forth all grounds in this

netition, you may be barred from presenting additional erounds at a later date.

For your information, the following is a list of the most frequently raised

erounds for relief in habeas corpus proceedings. Fach statement preceded by a

letter constitutes a separate ground for possible relief. You may raise any

erounds watch you may have other than those Liste’ if you have exhausted your

state court remedies with respect to them. However. you should raise in this

petition all available crounds (relating to this conviction) on which you base

your allegations that vou are being held in custody unlawfully.

No not check any of these listed grounds. Tf you select one or more of these

grounds for relief, you mist allese facts. The petition will he returned ta you

if you merely check (a) through (j) or any one of these erounds.

fa) Conviction obtained by nlea of auilty which was unlawfully induced or not
made voluntarily with understanding of the nature of the charee an? the
consequences of the plea,

(b) Conviction obtained by the use of coerced confession.

fe) Conviction obtained by use of evidence gained pursuant to an
unconstitutional search and seizure

(4) Conviction obtained by use of evidence obtained mmauvant fo an umLawel
arresk.

(a) Conviction obtained hy a violation of tke ovrivilege  arainst
self-incrimination

(F) Conviction obtained by the unconstitutional failure of the prasecution to
diselose to the defendant evidence favorable te the defendant

(<3) Conviction obtained? by a vialation af the orotection agains&h coukt
jeopardy.

(a) Conviction obtained ‘by action of a arand or velit jury which vas

unconstitutional selected and impaneled

) Denial of effective assistance of counsel.

3) Yenial ef risht of appeal

}

Sround one: See Attachment ¢

Supporting FACTS (tell your story briefly without citing cases or law:
See Attachment C

(P) Ground two: See Attachment C

Suonerting FACTS (tell your story briefly without citing cases or Law:
See Attachment C

13)

nes

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.10 Filed 05/16/06 ‘Page 5 of 50

(G) Ground three: See Attachment C

Supporting, FACTS (tell your story briefly without citing, cases or law:
See Attachment C

(D} Ground four: See Attachment C

Supporting FACTS (tell your story briefly without citing cases or law:
See Attachment ©

TE any of the erounds listed in 12 4. ?, ©, and ? were not previously presented
in any other court, state or federal, state briefly what grounds were not so
presented, and give your reasons for not presenting then:

Not applicable

he you have any petition or appeal now pending in any court, either state or
federal, as to the judenent under attack?

ves { | No FX]
Give the name and address, if known, of each attorney who rerresented you in bis
following states of the tdement attacked cerein:

| At preliminary hearine: Susan F, Reed

2 At arralenment ar! plea: Same Above

4 At trial: Susan F, Reed €P26897) 18421 Snowden ST,
Detroit, Michigan 48235

A At gantencins:

O appeal: Daniel J. Rust
26062 Ivanhoe, Detroit, MI 48239

wt

5 In any post-conviction proceeding: Not applicable
7 On appeal from any adverse ruling in a nost-conviction proceeding + _

Not applicable

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.11 Filed 05/16/06 Page 6 of 50

Vere you sentenced on more than one count of an indictment, or on more than one
indictment, in the same court and at apnroximately the same time?

Yes [ | No [x

De you have any further sentence to serve after you complete the sentence imposed!
by the judement uncer attack?

Yes [X] No [ |

1. If yes, give name and lecation of court which imposed sentence to be served
in the future: Detroit, Michigan

2 Give date and Leneth of the ahove sentence: Life

3 Have you filed, or de you contommlate filine. any netition aktackine the
judgement which imposed the sentence to be served in tne future?

Yes 1X] No — ]

Wherefore, Movant prays that the Court errant Sim all reljer toa which he may be
entitled in this sroceedinez.

“yenature of Attorney (if any;

+

} declare under penalty of perjury that the foresoine is true and correct Fxeeuted on

Py fo £00

Je i

Memature of Magant

noo A, RADDATZ
Y PUBLIC BAY CO., Mi
MY COMMISSION EXPIRES Mar @, 2007

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.12 Filed 05/16/06 Page 7 of 50

ATTACHMENT. A

9. 1). Grounds raised in the Michigan Court of Appeals:

DEFFNDANT-APPRLLANT'S CONVICTIONS SHOULD RF REVERSED BECAUSE THF
TRIAL COURT ERRED IN FINDING TRE STATFMFNTS VOLUNTARY AND FRRED
JN THEIR ADMISSION AT TRIAL.

DEFENDANT-APPPLLANT IS FNTITLED TO A NEW TRIAL WHFRE THE TRIAL

DEFFNDANT-APPELLANT’S CONVICTIONS SHOULD BE REVERSED RBRCAUSF THE
JURY WAS NOT PROPERLY INSTRUCTED AS HOW TO CONSIDER THE TESTIMONY
OF ANOTHFR DEFFNDANT .

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.13 Filed 05/16/06 Page 8 of 50

ATTACHMENT: B .

9. B- (4). Grounds raise in the Michigan Supreme Court:

DEFENDANT-APPFLLANT' S CONVICTIONS SHOULD BE REVERSED RECAUSE THE
TRIAL COURT FRRED JIN FINDING THE STATFMFNIS VOLUNTARY AND FERRED
IN THEIR ADMISSION AT TRIAL.

DEFFNDANT-APPFLLANT XS FNITTLED TO A NEW TRIAL WHERE THE TRIAL

DEFENDANT-APPELLANT'S CONVICTIONS SHOULD RE REVERSED BECAUSE THE

JURY WAS NOT PROPERLY INSTRUCTED AS HOW TO CONSIDER THR TESTIMONY
OF ANOTHER DEFENDANT .

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.14 Filed 05/16/06 Page 9 of 50

ATTACUMENT. C

12 (A)- Grounds raised in Federal Yabeas Petition:

Ground one:

DEFFNDANT-APPELLANT'S CONVICTIONS SHOULD BF REVERSED BECAUSE THE
TRIAL COURT ERRED IN FINDING THE STATEMENTS VOLUNTARY AND ERRED IN
THEIR ADMISSION AT TRIAL.

Standard of Review

A reviewing Court examines the entire record and makes an independent
determination of whether a defendant's statement is voluntary. The trial court's
Findings will be reversed unless thev are clearly erroneous. People v Howard,
(1997).

Although a trial court's findings of fact are entitled to deference, Howard,
supra, its application of constitutional standards is not. People v Truong,
(1996).

Mestions of Law are given de novo review. People v Naoud, (27000).

An apnellate Court reviews decisions regarding the admission of evidence for
an abuse of disnretion. Unweyer, where those decisions involve preliminary
questions of law, review is de novo. People v Knapp, (2001); People v Lukity,
(1999).

Walker Hearing

When reviewing a trial court's determination of volumtariness, this Court.
mist examine the entire record and make an indenendent determination. Deferente
is given to the trial court's assessment of the weight of the evidence and
credibility of the witnesses, and trial court's findings will not he reversed
imless they are clearly erronecus People v Howard, (1997).

As noted, review of lower court decisions involving cnestions of law are

reviewed de novo. Daoud, supra; Truong, supra.

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.15 Filed 05/16/06 Page 10 of 50

Argument

In the instant case, defendant submits the trial court erred in finding the
eatatements made by defendant to be voluntary.

During the hearing, Defendant testified he was arrested at his mother's house
without a warrant, was handcuffed and taken to the 10th precinct, He
acknowledged he signed the rights form and requested an attorney. He was then
led to a cell area where another officer talked to him and he told that officer
he wanted a lawyer oresent.

He was taken ta the 13th precinct, where Officer Newman talked tn him again.
He refused that conversation and indicated an afficer was pushing on his head.
He helieved they were trying ta intimidate him and believed they were playing
the ‘good coo, bad con’ routine. He again requested = lawyer.

Eventually he started talking, because he was stressec out and believed if he
tid, they were not going to let him ga.

In contrast, OFF, Newman, who interviewed defendant at a precinct, testified
defendant did not request 4 lawyer, only that he wanted toa talk to his mother.
He did acree defendant did not want to talk to him, (3/26/04, 11-12, 17}.

Off. Gutierrez, who interviewed clefendant at police headauarters, also
advised him of his rights, The officer testified defendant did not renueat an
attorney. (3/26/06, 31). One statement was taken at 72:45 om on 12/23/08; a
second at 2:20 pm; a third at 4:49 om, While there were no siqnificant hreaks,
he was advised of his richts only ance, used the restroom twice, was pravided
with minimal nourishment. At no time did he request an attorney. (3/26/04, 44).

Off. Parra assisted in transmorting defendant from the precinet to police
seadquarters, and denied touching defendant.

He had been arrested at approximately 7:00 am the orevious day. He had been

transported to one prerinet, then to headquarters the next day.
Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.16 Filed 05/16/06 Page 11 of 50

Dnte an accused invokes his Fifth Amendment right to an attorney, the police
must discontinve interrogation. It cannot be resumed without counsel present
unless the accused initiates Further communication with the police. He must be
sufficiently aware of his rights to make a voluntary, knowing, and intelligent
waiver of those rights. Minnick v Mississippi, (1990): Edwards v Arizona,
(1981); People v Slocum, (1996); People v McElhaney, (1996).

Here, defendant had invoked his right to an attorney several times. He did
not initiate a conversation with the officers. One officer agreed defendant did
not want to talk and ended the interview. After being transnorted to
headquarters, he was sqain advised of his rights, and after advising him of his
rights, oroceeded to interrogate him for at least four hours,

Whether a waiver of Miranda rights was voluntary is analyzed under a totality
of the circumstances test, examining the oolice conduct to determine whether the
statements were the racint of a free and unconstrained choice. People v
Abraham, (1999); Howard, supra.

Reviewing the totality of the circumstances, assessing the credibility of thr
witnesses, with deference given tn the trial court, defendant submitea the trial
court erred in finding the statements or voluntary.

They ware the result of extreme pressure on defendant He was concerned about
his mother's house; he had heom in custory for et least tur days: he hae
requested an attorney several times, hut was jannred: after intense
interrogation spanning at many hours, during which time he was minimally fed, he
broke down. He gave in oand talked to the afficers, helievinn he would he
released.

As such, reversal is tequired.,

MAE 404(b)

Here, in connection with another casa, the court determiner the evidence of

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.17 Filed 05/16/06 Page 12 of 50

prior bed arts showed a scheme and was not more prejudicial than probative. (MH,
04/04/04, 8-9).

In the instant case, defendant submits the trial court ahused its discretion
in admission of several]. statements made by him, which were irrelevant te the
issue at hand: whether he had committed the within offenses.

The statements of defendant, implicating him in other offenses, were redacted
and read before the jury.

As noted, evidentiary errors are reviewed for an ahuse of discretion. Knapo,
supra; Lukity, supra,; People v Crawford, (1998).

While the rule is one of inclusion, People v Pesquera, (2001), here,
admission of the bad acts resulted in a misnarriane of justice. Lukity, supra at
405.

In order to admit evidence of orior bad acts, nursuant to MRE 404(b)", the
court must determine that the evidence is offered for a oraper purpose under MRE
404(b), that it he relevant under MRE 492 as enforced through MRE 104(b), that
the probative value of the evidence is mot substantially outweiohed by unfair
orejudice, and the trial court may, upon tecuest, provide a limiting instruction
to the jury. People v Vander Vliet, (1993), amended (1994).

Here, the prosecution sought to introduce the evidence af prior bad acts to

show @ common sian ar scheme: that defendant went on 4 robbing spree.

” MFE 40h (b) states: (1) Evicence of other crimes, wrongs, or acts is mt ainissitie to orxe the
Caratter of a person in order to show action in conformity therewith. Tt may, hover, be
admissible for other curposes, sich ae oroo? of motive, cpporinity, intent, arenaration, schere,
man, of systen in doing = act, kmouleche, identity, ar aysence of mistake ar accicent then the
sate is material, uhether such other crimes, wrongs, or ects are covtemporareous with, or orion oF
subseoquert to the concoct at issue in this case.

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.18 Filed 05/16/06 Page 13 of 50

wag

hile defendant recoonizes it may have been admitted for a oroper purpose, he
submits the court failed to determine its relevancy, and erred in finding their
prohative value was not substantially outweighed hy unfair prejudice.

Here, the only similarities between the offenses contained in the statements
were that they were robberies. There was no lonical relevance between the
admitted bad acts and te the charged offense,

If defendant Stanley's testimony were to he helieved, it was a spur of the
moment occurrence, while he was being taken hack to his house. The situation was
completely different from what defendant Stanley had testified tn concerning the
drugstore robhery/carjackine. He had not been involved in the ather
homicide/robhery .

The evidence ageinst defendant was not averwhelming, Without the statements
af defendant, it consisted af the testimony of one witness, Mr. Pannah and the
questionable testimony af defendant Stanley, who claimed involvement in the
offenses under duress, Mr. Rarmon was unahle tna identify anyone, and his
deseriotion af the driver did nat match cefeandant.

Thue there was no demonstration of 9a concurrence of common features hetween
the charged and uncharged acts such that the charmed acts were naturally to oe
explained as heing caused hy a general alan of which the events were individual
manifestations. See People v Sabin, (After Remand), (2000).

While the jury wes given the cautionary imstruction (06/30/04, 134), ant
jurors are presumed to follow the instructions, People v Graves, (1998), that
did nothinn to disoel the suhstantial effect af the bad acts contained in the
atatements.

Tf the jury had not been aware of these had acts, i.e., if the statements hari
hean excluded, the prosecutor would net have been ahle to reference them in her

closing arguments (6/30/04, 67), and it was mare ornhable than not that there

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.19 Filed 05/16/06 Page 14 of 50

would have been a different result. Lukity, supra. The jury would have heard
defendant's itvolvement rested upon only one eyewitness, and the questionable
testimony of defendant Stanley.

As such, the trial court erred in admission of the statements of defendant
containing prior bad acts, in that they were substantially more prejudicial than
prohative of the issue at hand, whether defendant committed the charged offenses,
requiring reversal.

The admission of this evidence denied Defendant a fair trial. As a general
rule, evidence tending to show the commission of other criminal offenses or acts
by a defendant evidencing bad character is inadmissible to prove euilt of the
charged offense. The recognized danger is that the jury will be diverted from an
objective appraisal of the accused's guilt, and convict because they perceive the
accused to be bad or dangerous. Old Chief v United States, (1997); People v
Crawford, supra; People v Mitchell, (1997). The prohibition "reflects and cives
meaning to the central precept of our system of criminal justice, the presumption
of innocence.

Michigan courts have repeatedly reversed where such evidence has created the
danger of a conviction based upon. a defendant's statements or commit crimes
rather than upon the evidence of his conduct in the case at issue.

The bar against using evidence of other crimes, wrongs, or acts, or
statements of an individual to prove a propensity to commit such acts is
corporated into MRE 404 (b)(1), which alse describes the legitimate uses for such
evidence:
Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.20 Filed 05/16/06 Page 15 of 50

Ground two

DEFENDANT-APPELUANT 15 ENTITLED TO A NEW TRIAL WHERE THE TRIAL COURT
GRANTED AN ADJOURNMENT FOR OVER ONE WEEK.

Standard of Review

Reouests for adjournment are addressed to the trial court's discretion and
the decision will mot be overturned absent an ahuse of discretion. People v
Rettistea, (1988); People v Williams, (1972).

Adjaurnments or continuances are not to he granted excent for oood cause
shown. People v Sekoian, (1988).

In reviewing this question, this Court must consider whether defendant is
asserting a constitutional right, whether there is a lenitimate reason for
asserting the rieht, whether defendant iso quibty of nmaqligence, whether
adjournments were at defendant's baheast, anf whether nrejudics to defendant will
result. People v Wilson, (4976); People v Bell, (1986).

fin anneal, reversal is mandated only upon a finding mf an ahuse of discretion
whieh resulted in prejudice to the accused. Wilson, supra; People v Gross,
(1982); MCL 769.26.

On abuse of ciseretion is found where an unprejudicead person, considering the
Facts an which the trial eourt acted, would say there was no justification oar
axcuse for the ruling mace, People v Snider, (2000), or the result is so
palpably and qrossty violetive of fact and lomic that it evidences a nerversity
of will, a defiance of judament, or the exercise of nassion er hias. People v

Hine, (2002).

Argument

Tn the instant case, defendant submits the trial court abuser its rliscretion
in adjourning the trial for over one week at the renuest of the orosecutor,

where there was no valid ressen for the court not te continue the oronreeadinnos
Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.21 Filed 05/16/06 Page 16 of 50

against defendant.

Apparently, the reason for the adjournment was due to an illness of defendant
stanley. (06/29/04, 128), However, it was unclear at the time of the adjqurnment
whether he would he testifying to if he was going to testify.

Application of the standerds relative to the cornmtinuance demonstrates the
Court abused its discretion in nranting the recuest,

Defendant was not asserting his constitutional Tight, nor was it at his
hahest. The request was made by the prosecution,

The question mf whether there was s leqitimate reason for the request cic ant
apoeer to be saumd, While the norogecution did mot want to msl] Ker Witneases
tuite, bhere was no reason to 0 forward with defendant's case, in that he had 3
senarate jury than cefencant Stanley. There were witnesses who were ready to
testify, hesides defendant Stanley. Ones trial resumed, the orosecution called
police officers Jackson and Staples to testify.

There was no negliqence an defendant's mart An the contrary, he objected to
the continuance, noting the orejudinial effect the continuance would heve on his
Jury: defendant was readv to procead with the trial, whieh had heen entering its
third weak, Numerous witnesses had already testified and it Wag more prabahle
than not that with the acjournment, that testimony woule? he significantly
minimized, in that the court prohibited the jury fram note-taking, The jury
woule Foous more uaan thre testimnny af the Witnesses oresented after trial had
resumed, including defendant Stanley, as onposed tn tonsiderineg thee testimony af
all the witnesses in making its decision as to fefendant's quilt.

It was clear that this adjournment was not for good tause, nor oranted with a
view towards speedy and substantial justice. See MCR 2.503; MCU 748.2. On the

comtrary, even the court was canfused as to way it wes required to grant the

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.22 Filed 05/16/06 Page 17 of 50

adjournment, requesting from the prosecutor information as to why he the court
had mo choice hut to grant the adjournment. (06/17/04, 7).
Nefendant therefore submits the court ahused its discretion in aranting the

extensive adjournment.

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.23 Filed 05/16/06 Page 18 of 50

Ground three

DEFENDANT-APPELUANT'S CONVICTIONS SHOULD BE REVERSED BECAUSE THE
JURY WAS NOT PROPERLY INSTRUCTED AS HOU TO CONSTDER THE TESTIMONY OF
ANOTHER DEFENDANT.

Standard of Review

'here there are questions involving the jury instructions, review is de novo.
People v Perez, (2003); People v Marion, (20072).

A trial court is require to give requested instructions only if the
instructions ara svonorted hy the avidence ar the facts af the case. People v
Ho, (1998).

If an applicahle instruction wae nat qiven, the defendant must show that the
enurt's failure tm give the requester! instruction resulted in a miscarriage of
justice. Peaple v Riddle, (2002),

The instructions are ta he real as whole rather than extracted oiecemeal to
estahlish error, and even if somewhat imperfect, there is oo error if the
instructions fairly oresented the issues to he triad ane sufficiently orntecter!
the defendant's rights. They must inmlude all elements of the crime charged and
must mot exclude consideration of material issues, dsfeanses anf theories for
which there is evirence in supnort. People v Rodriguez, (2000); People v Daniel,
(1994).

Where a renuested instruction is not qiven, the clefendant dears the hurden af
establishing that this constituted a miscarriage of jistice. MCL 769.296; Riddle,
supra; Rodriguez, supra; Lukity, supra,

Argument

Here, defendant submits the trial court erred in denyinn the defense request

to instruct his jury as to how consider the testimany of defendant Stanlev.

This issue was nreserver for review. as defense had requested the jur
3 . .

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.24 Filed 05/16/06 Page 19 of 50

instruction, as it related to an arcomplice.

The court denied the request, noting the instruetion on uitness oredibility,
Coléd 3.6, was adequate, because nf defendant Stanley's position. (6/30/04, &4-
45).

Defendant's jury had heard testimony from defendant stanley, who claimed ha
was involved not anly in the charand offense, but at least one other armed
robbery involving defendant. He advanced the theory he was involved nat hy
enoice, hut his involvement was under duress. Thus he admitted his involvement,
albeit for a different reason.

Nefendant submits the jurv should have been instructed at the very least, to
consider his tastimony as a disnmuted accomplice, f3T2@d 5.5, Witness a Disputed
Accomplice anf bean cautioned in acemrdance with EIdT2d 5.6, Cautionary

Instruction Regarding Accomplice Testimony .
As anplier! to this case, the instructians woule bave rear’ as follows:

(1) Refore you mav consider what Mr Staniey said in court, you
must decide whether he tonk part in the crime the defenrfant is
charged with committinn. Mr. Stanley has not admitted taking gart in
the crime, wt there is evidence that could lead you to think that
ne did.

(7) A person wha keowingly and willingly heblns of cooperates
with someone else in anemitting a erime is called an anctamoLlice,

(3) then you think about Mr. Stanley's testimony, first decide
if he was an accomplice, If, after thinkinno sbout all the evidence,
yOu decide that he did nant take nart in this erime, jucoe his
testimony as you judge that of any other witness Put, if you decicle
that “r. Ataniey was an accomnline, ther vou must marsider his
tastimony in the followin way: (0IT2d 5,5)

(1) You should examine an accomplice's testimony closely and be
very careful ahnut accenting it.

(2) You may think shout whether the accompline's testimnny js
supported hy ather evidence, because then it may De more relisble
However, there is nothing wrond with using an secomnlice as a
witness . You may convict the defendant hased only on an accomolice's
testimony if you helieve the testimony and it proves the defendant's
quilt beyond « reasonable doubt

(3) then you decide whether you believe an sccommlice, consider
the Following:

(a) las the arcomplice'!s testimany falsely slanted to make the

 ____"_"_LO ae

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.25 Filed 05/16/06 Page 20 of 50

defendant seem guilty hecause of the accomplice's own interests,
biases, or for some other reason?

(b) Has the accomplice heen offered a reward or been nromised
anything that might Lead him to Jive false testimony?

(c) Has the accomplice heen nromised that he will not he
prosecuted, or promised «a lichter sentence or allowed tn olead
guilty to a less serious charge? If so, could this have influenced
his testimony?

(4) In general, you should censider an accnmolice's testimany
mare cautiously than you would that of an ordinary witness. Vou
should he sure you have examined it closely hefore you base a
conviction on it. (C3f2d 5.6)
Tf the fury had thus heen instructed, they would have bean warned to consicier

defendant Stanley's testimony more cautiously than that af an ordinary witness

and would save provided quidelines to follow when assessing his credibility.

An accomplice has heen defined as a perean who knowingty and willingly helns

or comerates with sameane else in comeittine a crime. People v Allen, (1993).

Nefendant Stanley admitted to tis Narticination in the offenses, admitted he

had hertn released several times From custody, admitted ha had ont hean tharger!
with the instant offense, and admitted he had bsen charaed in the drugstore
carjacking and robhery. Defendant's Jury coule have coneluded he wes an
accomplice, that he aided anc abetted defenrfant in the commission of vot ony
that offense, but the charned offense, anr! was testifying in such @ manner that
nis own jury would agree he arted wnder curess. As @ result, he offered for
defendant's jury additional rmonsideration of other had acts: he was foros ta
narticinate at ounomint and sfternards threatened not to aneak to the
authorities.

The ather witnesses, if believed, hed testified he was involved with this
offense and his actions cid not indirate he was anersting under duress. Whether
he was or nat was left to his qun Aury.

The jury inatruction as to witness credioility, CII2@d 3.6, was inadequate

with resoect to defendant Stanley, because of his unicue position as hnth a

—_Ci_

Case 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.26 Filed 05/16/06 Page 21 of 50

Witness anc a defendent in the trials. Yet the jury was instructed to consider
his testimony as if he were any other ordinary witness. If they had been
pronerly instructed, the JuUrY would have heen better ahle to ASSeS38 nof, only his
credibility, but it would have impacted on the other witness! testimony, masting
Houbt unan their testimony as well,

Defendant submits the failure of the court to Aronerly instruct the jury
resulted in a failure to protest defendant's rights hy failing to have them
determine for themselves defendant's Stanley's role, where there was evirlence ty

sunpart his particination. As such, defendant suffered a miscarriage af justice,

Lukity, supra.
Therefore, defentiant submits the trial court ahised its discretion in denying

defendant's request for the instruction, reacuiring raversal.

mse 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.27 Filed 05/16/06 Page 22 of 50

STATE OF MICHIGAN

‘IN THE COURT OF APPEALS

PEOPLE OF THE STATE OF MICHIGAN
PLAINTIFF-APPELLEL, COURT OF APPEALS NO:
257150

-VE-

RUFUS GENE LANGO
DEFENDANT-APPELLANT.

WAYNE COUNTY CIRCUIT COURT NO: 04-01652-02
/

KYM L. WORTHY
WAYNE COUNTY PROSECUTING ATTORNEY
ATTORNEY FOR PLAINTIFF-APPELLEE

DANIEL J. RUST (P32856)
ATTORNEY FOR DEFENDANT-APPELLANT

APPELLANT'S BRIEF ON APPEAL

** ORAL ARGUMENT REQUESTED **

DANIET, J. RUST
26062 IVANHOE

REDFORD, MICHIGAN 48239
(313) 837-7734

ik.

STATEMENT OF QUESTIONS PRESENTED

Tit.

TABLE OF CONTENTS

STATEMENT OF FACTS occ cccccceccsercreeteventatseesseseseseeseecaven veeeteeees
ARGUMENT:
I. DEFENDANT-APPELLANT’S CONVICTIONS

SHOULD BE REVERSED BECAUSE THE TRIAL
COURT ERRED IN FINDING THE STATEMENTS
VOLUNTARY AND ERRED IN THEIR ADMISSION

se 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.28 Filed 05/16/06

AT TRIAL, ooo ccc cece ecccreneseensceccsessesesenseseecueeaeereaas

DEFENDANT-APPELLANT IS ENTITLED TO A
NEW TRIAL WHERE THE TRIAL COURT
GRANTED AN ADJOURNMENT FOR OVER

ONE WEEK occ ccececccccc ccs cceecee cece neuescscceccesseccsesecsseevansnansevaee:

DEFENDANT-APPELLANT’S CONVICTIONS
SHOULD BE REVERSED BECAUSE TILE JURY
WAS NOT PROPERLY INSTRUCTED AS HOW
TO CONSIDER THE TESTIMONY OF ANOTHER

DEEREENDANT ooo cc ce cece cece ceeeee ete nete nn ninetutaveceeiaeies

SUMMARY AND RELIEF SOUGHT ooo cee cicecceeceesececeseeenseeeeeee

il

Page 23 of 50

PAGE

lll-¥

2-12

[9-2]

22-25

Fase 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.29 Filed 05/16/06 Page 24 of 50

INDEX OF AUTHORITIES

PAGE

Cases
Edwards v. Arizona

451 US 477; 101 SCt 1880; 68 LEd2d 378 (LOD). cccsecccccscccccccsecsescoseecescesanevarenen 15
Minnick v. Mississippi

498 US 146; 111 SCt 486; 112 LEd2d 489 (1990). cece sesscsssseseseeensersee 15
People v. Abraham
. 234 Mich App 640; 599 NW2d 736 (1999) ooo ccc cecccceseccesasseeececscoceccecececeseccepenepees 15
People v. Allen

201 Mich App 98; 505 NW2d 869 (1999). ccc cccececeesescecevveusenansereccucanee: 24
People vy, Bell

135 Mich App 408; 399 NW2d 542 (1986)... ccccecsescccccccccecccececrsesererenesesnsneneeseeass 19
People v. Bettistca

173 Mich App 106; 434 NW2d 138 (1988)... ccc cccsssessssvesssosseccsssseceseeeseeseseeeseeeeey 19
People v. Crawtoril

458 Mich. 376; 582 NW2d 785 (1998). .occ cece ccccscavseeceeeteseecceccctescecccesceceeeneencs 16

People v. Daniel
207 Mich App 47; 523 NW2d 830 (1994) ooo ccccccsecuscerstereesvseacscstsssesesseeeeeeeee 29

People v. Daoud
462 Mich 621; 614 NW2d 152 (2000)... ccc ccc ccccccccceceeeseevesraseuseensnessteterseecces 13,14

People v. Graves
458 Mich 476; 581 NW2d 229 (1908). ees cnscsensceessccceeeeececesenensesenseteseeeees 18

People v. Gross
118 Mich App 161; 324 NW2d 557 (1982) oo eee eens Lisceenstseeseeeseseesensenee LAY

People v. Hine
467 Mich 242: 650 NW2d 659 (2002)..-ccscsssssesssssssvssssecssssccssesesssnssvssenseeceseusene 9

People v. Ho
231 Mich App 178; 585 NW2d 357 (L998). ccc cece ccecceececcsceccecenecunvevveuesveevvavernensus 23

in

ase 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.30 Filed 05/16/06 Page 25 of 50

People v. Howard
226 Mich App 528; 575 NW2d 16 (L997) occ eeccescccseeseesesestatesetaccesceceee 14,15

People vy, Knapp
244 Mich App 361; 624 NW2d 227 (2004) .occcccccccecceccesenecsccccceeccecesesesesesesescrenvavensvess 13

People v. Lukity
460 Mich 484; 596 NW2d 607 (1999). cccccccccscecensesescscceceeeceeeseee 13,16,18,22,25

People v. Marion
250 Mich App 446; 647 NW2d 521 (DOOD). ec cceccece ccc ceeceecensacenessstacececcecseceptueeanss 23

People v. McElhaney "
215 Mich App 269; 545 NW2d 18 (1996). ooo ccc ceccccecsescccccccccecccecevececesteeteee cece. 15

People v. Perez
469 Mich 415; G70 NW2d 655 (2003). eeccccccccccccecceceeestssevevsenteteveccececececeeseee 2D

People v. Pesquera
244 Mich App 305; 625 NW2d 407 (2001) voices ccecseeetetecccccececec ce cceeee creates 16

People y, Rodnguez
463 Mich 466; 620 NW2d 13 (20Q0) 0 icc ccccccccecaueesrtetcecesecceseccececcepcesevecteneeececees 22

People v. Sabin (After Remand)
463 Mich 43; 614 NW2d 888 (2000)... cece ccc ccccacsenenerscessesceeseesevevecstnavaseavesnaees 18

People v, Sekoian
169 Mich App 609; 426 NW2d 412 (1988), lv den 431 Mich 869 (1988). esses 19

People vy. Slocum (On Remand)
219 Mich App 695; 558 NW2d 4 (1996)... cccccecccecececececeesrseeessscateccarsessseseeecavrvsverens 15

People v. Snider
239 Mich App 393; 608 NW2d 502 (2000) .occccecccceccccceeccusvsvsestetstatetcecsceeeeeeeesee: 19

People v. Truong (After Remand)
218 Mich App 325; 553 NW2d 692 (1996) ooo cceccecceccccccesceccsecceseesesvevecveusrees 13,14

People v, Vander Vliet
444 Mich 52; 508 NW2d 114 (1995), amended 445 Mich 1205 (1994) 17

People v. Williams
386 Mich 565; 194 NW2d 337 (1972)... ccccccccccsevseusecreenseseescoceceeecececcessessesseeeeesaes 19

People v. Wilson
397 Mich 76; 243 NW2d 248 (1976), reh den 397 Mich 962 (1976)... ccseccseceoeeee 19

ase 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.31 Filed 05/16/06 Page 26 of 50

Statutes
MCL 768.2 occ cecessssesscas cccceneesnecceceseceeunecise seaseveeansesessstvattesstiees teeth 2}
MCL 769.26

MCL 769.26

Michigan Rules of Evidence

MRE 1O4(D) ossceecesssesscscse onervsssstasseeeennssunssevirauasaesssereeatsasecsssssapepusieseesesesseseetee 17
MRE 402 0 cececcsseesecssseoscncarenssssseecenieestssusvestravanaavesssranesssasecscpupitieceeeseeeeeesbeee 17
MRE 404 0b) os cceeeessssccscosesssnsnsssssssseeanssunsnssevesapuesseesaraasssesseseeseeuegesseeeeeseeteeeeseee 16

Michigan Jury Instructions

CIT24.3.6 oo eect ee ere rtececeeca ec ranaecaceesoetcntucececeseeenessensenaee 23
COTA 5.5 esc cecesene cece cece tessneeanscesssunasssessesssadpuansicecscstteeeseeeeteresteey 23
CUT2 5.0 cee ec cece eases esserssneascoceconusssvessstsstentasesussestpeeseeseeeeeeee cc 23

Michigan Court Rules

MCR 2.503. cece AU eY Saad seeneentenrarsscoeeeeeoeeaseasetecseaseaseitceteceapnuvaassessessees 21
se 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.32 Filed 05/16/06 Page 27 of 50

STATEMENT OF JURISDICTION

Defendant submits the Michigan Court of Appeals basis for jurisdiction resides in MCR
7.203(A), involving an Appeal of Right because Defendant-Appellant was convicted at tral on
July 1, 2004, sentenced on July 21, 2004, and umely filed a Claim of Appeal and requested
appointment of appellate counsel.

said Claim of Appeal and request for appellate counsel was filed on August 3, 2004, with
the tral court, prepared and filed with the Court of Appeals on August 5, 2004, Wayne County

Circuit Court No: 04-01652-02.

v1

se 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.33 Filed 05/16/06 Page 28 of 50

_ STATEMENT OF QUESTIONS PRESENTED

L SHOULD DEFENDANT-APPELLANT’S CONVICTIONS BE
REVERSED BECAUSE THE TRIAL COURT ERRED IN
FINDING THE STATEMENTS VOLUNTARY AND DID THE
COURT ERR IN THEIR ADMISSION AT TRIAL?

Tnal Court Did Not Answer

Defendant-Appellant Answers: Yes

H. IS DEFENDANT-APPELLANT ENTITLED TO A NEW TRIAL
WITERE THE TRIAL COURT GRANTED AN ADJOURNMENT
FOR OVER ONE WEEK?
Tnal Court Did Not Answer

Defendant-Appellant Answers: Yes

Hil. SHOULD DEFENDANT-APPELLANT’S CONVICTIONS BE
REVERSED BECAUSE THE JURY WAS NOT PROPERLY
INSTRUCTED AS HOW TO CONSIDER THE TESTIMONY
OF ANOTHER DEFENDANT?

Trial Court Did Not Answer

Defendant-Appellant Answers: Yes

se 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.34 Filed 05/16/06 Page 29 of 50

STATEMENT OF FACTS

On June 7, 2004, before the Ifonorable Edward Ewell, Wayne County Cireuit Court
Judge, a jury trial was begun in the matter of People of the State of Michigan v. Rufus Lango,
Wayne County Circuit Court No: 04-1652-02. Before the sane jury a companion case, People
of the State of Michigan v. Gregory Washington, Wayne County Circuit Court No: 04-1652-
O1, was heard.

At the same time, before a separate jury, another case was heard, People of the State of
Michigan v. Jessic Stanley, Wayne County Circuit Court No: 04-3764.

Defendants were charged in the Information with felony murder, assault with intent to
murder, and two counts of felony fircarm, MCT. 750.316: MCL 750.83; MCL 750.227b.

It was alleged that on or about August 30, 2003, at a location in the City of Detroit,
County of Wayne, State of Michigan, defendant did, while armed with a fircarm, in the
commission of an armed robbery, kill Martin Neaima, and did assault Alexander Barmon with
the intent to kill him,

The people were represented by Ms. Kam Towns, assistant county prosecutor; defendant
Lango by Ms. Su san Reed; defendant Washington by William Winters: defendant Stanley by
Randall Upshaw.

The following witnesses testified: Edwin Bannah, Alexander Barmon, Detroit Police
Officer Knox, Mr. Anderson, Detroit Police Officer Thomas Smith, Detroit Police Officer Allen,
Detroit Police Officer Brown, Detroit Police Officer Manuel Gutierrez, Detroit Police Set.
Nicholas Giaquinto, Shanetta Smith, Detroit Police Officer Michelle Melendez, Samuel Ngiama,

Detroit Police Officer Lance Newman, Doctor Leigh I[avaty, Dearborn Police Officer Sianley

hl

se 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.35 Filed 05/16/06 Page 30 of 50

Kulikowski (before defendant Stanley's jury only), Detroit Police Officer Anthony Jackson,
Detroit Police Officer Kurtiss Staples, Leshie McDonald (before defendant Stanley’s jury only),
and defendant Stanlcy.

Numerous exhibits were admitted.

Prior to trial, a Walker’ Hearing was conducted. After hearing testimony from Officer
Newman (3/26/04, 5-20), Officer Gutierrez (3/26/04, 43-53), defendant (3/26/04, 53-77), Officer
Parra (3/26/04, 78-85), and argument (3/26/04, 85-88), the court denied the motion to suppress
defendant's statements. (3/26/04, $8-90).

Prior to trial, relative to another case, the court determined defendant's statements which
included evidence of prior bad acts, were admissible. (See People v. Rufus Lango & Jerome
Smuth, Wayne County Circuit Court No: 04-1155-01 & -02, Motion Hearings of March 26, 2004
and April 2, 2004, Attached).

Defendant's statements were to be redacted to exclude references to defendant
Washington. The court denied a motion for separate trials. (6/02/04).

- Preliminary matters were dealt with (6/07/04, 5-11} and a jury was selected. (6/07/04,
1}-228),

The court conducted a Wade Hearing”. After hearing testumony from Sgt. Giaquinto
(6/07/04, 8-41). Mr. Bannah (6/07/04, 41-75) and hearing argument (6/07/04, 75-80), the court
found the photographic lineup of defendant was not unduly suggestive. (6/07/04, 81-82).

Defendant Stanlcy’s jury was selected.

Defendant’s jury was preliminarily instructed. (6/9/04, 83-93).

' People v. Walker (On Rehearing) 374 Mich 331: 132 NW2d 87 (1965).
* United States v. Wade 388 U.S. 218: 87 S Ct 1926; 18 L-Ed.2d 1149 (1967).

Lad

ase 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.36 Filed 05/16/06 Page 31 of 50

Opciing arguments were made by al] partics before their respective Junies: prosecutor
(6/9/04, 93-106); defendant Stanley (6/9/04, 104-116), defendant Washington (6/9/04, 116-122),
and defendant Lango. (6/9/04, 123-127),

Mr. Bannah testified he lived in Liberia during times of civil unrest, and was thus
familiar with assault weapons. In 1994 he moved to the United States, where be maintained
conlact with deceased, and met Mr, Barmon when he came to Detroit to attend a friend’s house
warming party.

On the day in question, he was helping to prepare for the party and drinking some beers.
{Je stopped drinking at noon, instead drinking water. Around 1 1:00pm, deceased, Mr. Barmon
and himsell decided to leave the party and drive around. Deceased was driving and he was in the
back seat. As they were rctuming to the party, they saw some women heading to a bar and
decided to check it out. All three got out, and as they were walking single file towards the bar,
another car made a sudden stop night in front of them. He believed it was a red convertible with
a white top. He saw the driver, defendant Lango, pointing a weapon at them and told them not to
move, Another person got out of the passenger side and also pointed a weapon at them and also
told them not to move. He identified defendani Stanley as that second person. He believed
de fendant Stanley was wearing a colorful mask over part of this face. Based on his previous
experience in Liberia, he began lo form a plan of action. He staried to talk to them.

As he turned to look at the driver's face, he heard a shot. He saw another person,
defendant Washington, coming from the rear of the car, also with a weapon in his hand. He
heard the gunshot at the same time as he saw defendant Washington. He did not know which
person shot. Alter he heard the shot he took off running. Deceased was wearing several items of
jewelry, including a gold chain with a medallion, as well as a gold bracelet, watch, and a

wedding ring. After he ran he heard other shots. He heard Mr. Barmon say he was hit. He

se 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.37 Filed 05/16/06 Page 32 of 50

returned to him and called 911. He remained with him when the ambulance arrived. Mr.
Barmon was placed in the ambulance and went to where deceased was lying on the ground. He
did not see the chain or the bracclet at that time. He was interviewed by the police when they
amived, giving them deseriptions of two people. He admitted he was in a state of confusion at
the time. He identified a statement he gave to the police. [le went to the hospital where he later
learned deceased had died. Ile returned to Minneapolis, Minnesota, where he was living.

As he was driving back to Minnesota, he replayed what bad occurred in his mind. He
recalled the third person. The only time he saw Mr. Bazmon was at deceased’s fimeral. They
did not talk about what had occurred. A few months later, at a local precinct in Minneapolis, he
viewed three separate photographic lineups, identifying all three defendants, identifying
defendant as driver. He testified at defendants’ preliminary examination, identifying defendants
Washington and Lango. At another preliminary examination, he identified defendant Stanley.
(6/10/04, 7-56, 66-97).

Outside the presence of the jury, the court agreed the jury would not be permitted to take
notes and so instructed the jury. The court also dealt with possible improper cross-examination
of the witness by defendant Stanley. (6/10/04, 57-66).

On cross-examination, he admitted he had reviewed his prior testimony as well as what
he told the police. He agreed he did not tell them that there were three persons that evening, or
that one was wearing a mask. He was only able to give a description of the third person's face.
Tie admitted he had been traumatized by the events when he gave the descriptions to the police,
and was unable to recall exactly what he told them. He described the chain and a bracelet that
deceased had been wearing thal night. [le agreed defendant was the darkest in the photographic

lineup, (6/10/04, 97-197; 6/14/04, 5-17).

wase 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.38 Filed 05/16/06 Page 33 of 50

Mr. Barmon was aiso from Liberia, He had heen exposed to the civil wurest there, having
seen it on a daily basis and had been exposed 10 numerous checkpoints. In 1994, he moved to
the United States, He came to Detroit to visil a friend.

On the day in question, he had been drinking beer during the day. Te, deceased, and Mr.
Bannah decided to leave the party to go for aride. As they were relurning, deceased decided to
follow some females who were walking to a bar. They parked and as all tlhirce gol out and were
walking towards the bar, a red sports car pulled right in front of them cutting them off. He saw a
shotgun in the driver's hand, pointing at them. He was told not to move. Deceased was closer to
the vehicle, approximately 6-7 fect away. Ie saw another person also armed with a weapon
coming from the other side of the vehicle. That person also told them not to move. Deceased
look step towards the person holding the weapon. He saw him get shot in the stomach. Ie
started running, and heard a lot of other shots. He stopped running after he got shot four times in
his shoulder. After 91] was called, EMS arrived on the scene, and he was treated and taken to
the hospital. He described what deceased was wearing, which included a gold chain with a lion’s
head, a gold bracelet, and a gold watch. When they were in the ambulance, hic did not see those
itcms on deccased. He showed his injuries to the jury.

He was interviewed by the police approximately 3-4 days after the incident, but gave
only one description, the shooter. After he was released from the hospital, he returned to
Minnesota where he was living. A few months later, he attended three photographic lineups, but
was unable to identify anyone. (6/14/04, 17-56, 124).

On cross-examination, he could not recall how many officers he talked to. He admitted
he had been drinking, admitted he did not see the driver get out of the car and told the officer the
passenger shot and killed deccased. He also thought he was going to be killed. He testified at

defendant’s preliminary cxamination. (6/14/04, 61-124).

ase 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.39 Filed 05/16/06 Page 34 of 50

Olficer Knox interviewed Mr. Bannah at the scene for approximately 15-30 minutes, who
gave him descriptions of two persons, Mr. Bannah appeared to be scared and was crying. He
identified various phatographs of the scene. He preserved the scene and prepared a report.
Although Mr. Bannah told him there were three possible suspects, he admitied he wrote only two
in his report. (6/14/04, 124-154}.

Mr. Anderson, EMS emergency technician, responded to the scene. One person who
appeared wounded as a result of a gunshot wound was taken to the hospital, as was deceased.
Jewelry taken from deccased did not include a gold chain with a medallion or a gold bracelet,
The only piece of jewelry he recalled was a watch. (06/15/04, 4-19).

Officer Smith, evidence technician, responded to the scene. He identified various
photographs taken of the scenc, that he and his partner prepared a diagram, and thai the
photographs were taken with a flash. Ile recovered several shell casinys, Including two from an
assaull nifle. He noted their location, which were approximately 8-10 feet from where blood had
been found. The bodies had been removed from the scene prioz to his artival. The shell casings
were not checked for fingerprints. A basebal] cap was also found at the scene. (06/15/04, 19-50}

Olficer Allen, firearms examiner, determined they were fired trom the same weapon.

(06/15/04, 50-66).

Outside the presence of the jury, the defense: requested assistance from the prosecutor in
sccunug possible eyewitnesses. The court also dealt with issues conceming Miss Smith’s
testimony as well as defendant Washington's possible criminal involvement in other offenses, as
well as redacting defendant's statement. (06/15/04, 82-98).

Officer Brown was the first responding officer to the scene. EMS was present and the
individuals were already inside the vehicle. She maintained crowd control. Other officers who

arrived preserved the same. She accompanied EMS to the hospital and secured the clothing of

se 2:06-cv-12228-MOB-WC ECF No. 1, PagelD.40 Filed 05/16/06 Page 35 of 50

deceased, who she learned the next day, had died, Personal jewelry was also scourcd, which did
not include a necklace, bracelet, or gold medallion. (06/15/04, 69-79),

Officer Gutierrez interviewed defendant, known to him “Bushy, on December 23, 2003,
after he had been advised of his Miranda rights. The statement, which defendant signed, was
read into the record. ‘There was another officer present. (06/15/04. 126-1 30). A second
statement was also read to the jury. Both did not indicate any involvement in the homicide,
(06/15/04, 103-140).

Sat. Giaquinto conducted the photographic lineup of defendant, who was not in custody
atthe time. (06/15/04, 140-169),

Ms. Smuth, fiancée of defendant Washington, was present when he was arrested, She
knew defendant, as well as Mr. Stanley. She had arrived at her house when the police were
there. She admitted to previous convictions for theft. She denicd telling the police that she knew
why they were there. She had also been arrested at that time and taken to the precinct, then to
the hospital. She admitted she signed a statement at least three times, but denied knowing what
it contained because she had been upset and crying during her interview. She denied saying
anything to the police, could not recall signing any other piece of paper, She denied telling the
officer defendant Washington had any weapons or that there were guns in the house. She
admitted she had been arrested because of outstanding warrants. (6/1 6/04, 4-43).

Officer Melendez assisted in the arrest of defendant Washington. She was assisted by
other officers, She had talked to Ms. Smith at the house {or approximately 30 minutes. She
accompaned Ms. Smith to the precinct and then to the hospital. She conlinmed there were
outstanding warrants for Ms, Smith's arrest. ‘The warrant for defendant Washington was
obtained later the same day. She recalled that an officer was present with a video camera, but

could not recall whether or not it had been videotaped. (6/16/04, 43-46, 54-81).

:06-cv-12228-MOB-WC ECF No. 1, PagelD.41 Filed 05/16/06 Page 36 of 50

Outside the presence of the jury, the parties agreed to limit Officer Melendez’ testimony.
(6/16/04, 46-54)

Mr. Samuel Ngiama, father of deceased, identified him. Ile was aware his son had a gold
bracelet as well as gold African jewelry. However, the only item he received was his wedding
band. (6/16/04, 82-89)

Officer Newman, officer in charge, took three photographic lineup sheets to Minnesota to
be viewed by Mr. Barmon and Mr. Bannah, accompanied by Officer Staples. He also
interviewed both defendants. Defendant was inumediately identified by Mr. Bannah, who also
identified the other two defendants. Mr. Barmon was unable to identify anyone. He returned the
wedding ring of deceased to the family. He did not know who prepared the photographic lineup
of defendant Stanley. He attempted to have a conversation with Mr. Barmon at the hospital on at
least two occasions. He admitted Mr. Barmon informed him of only two perpetrators. (6/16/04,
89-136).

He testified before the Stanley jury separately (6/16/04, 150-163), as did Dearborn Police
Officer Stanfey Kulikowski (6/16/04, 143-169).

Dr. Hlavaty, forensic pathologist, determined the cause of death to be from multiple
gunshot wounds. A bullet was recovered from the abdomen. However, he admitted il was
possible that deceased had been shot only once. There was no evidence of close range fining;
there was evidence of alcohol in his system. The recovered bullet was turned over to the police
department. (6/16/04, 136-1 48),

Over defense objections, the court adjoumed the trial, due to defendant Stanley’s illness
as indicated by the prosecutor. It requested the prosecutor inform the court why it had no choice

in the matter. The trial resumed 11 days later. (6/17/04).

9
:06-cv-12228-MOB-WC ECF No. 1, PagelD.42 Filed 05/16/06 Page 37 of 50

The court denied a defense request to question Officer Newman concerning other
invesuigations. The partics agreed to a stipulation as to the videotape of the arrest of defendant
Washington was irrelevant, later entered. (6/28/04, 118). The court, with the concurrence of the
paitics, dismissed a missing juror. (6/28/04, 3-17, 117).

Officer Jackson took a statement from Ms. Smith, afier advising her of her rights. She
was in custody at the time of the statement, and he was aware she had outstanding warranis. The
interview was neither video nor audio taped and lasted approximately 4 hours. (6/28/04, 18-44)

Officer Staples testified before the Stanley jury only. (6/28/04, 44-1 16).

Supulations were agreed upon.

Prosecution rested. (6/28/04, 119)

The court determined defendant Stanley's potential witnesses would not testify before
defendant's jury. (6/28/04, 119-139),

A motion for directed verdict was denied. (6/28/04, 139-144).

Mr. McDonald testified before the Stanley jury only. (6/28/04, 149}. The court dealt
with matters concerning defendant Stanley. (6/28/04, 150-157).

The court again dealt with mailers concerning Defendant Stanley’s jury. (06/29/04, 3-
20).

The court also held defendant Stanley could not testify as to another hornicide defendant
may have been involved in. (06/29/04, 20-36).

Defendant Stanicy testified he was taken to police headquarters and talking to Olficer
Newman and Officer Staples about what had occurred, which resulted in two signed statements.

On the day in question, he was walking his dog when defendant and Mr. Washington
arrived in different cars. Defendant had a weapon on his lap and a shotpun by the passenger scat.

He was told to get in the car. Although he did not want to, he was threatened. He took his dog

10

:06-Cv-12228-MOB-WC_ ECF No. 1, PagelD.43 Filed 05/16/06 Page 38 of 50

home and got in defendant Washington's car. Defendant Washington got in defendant’s car.
They went to a drugstore where defendants Washington and Lango carjacked two people. He
was supposed to he the Jookout. They drove back to a location where defendant Langa’s
girlfriend was located.

He was being taken a home by defendant when they went by the bar. Defendant pulled
in, quickly cutting them off and pointed a pun at them. ‘Two men began to run as defendant
Washington armved in his own car. Defendant Lango got out of his car. He heard a shot. He
denied he ever got out of the car, wore anything on his face, nor did he get any money. He went
with defendant because he was scared of defendant Washington, because he had been shot at
before, and threatened on this case. Afier the officers released him he went was mother’s house.
Although he had been arrested several times, he had always been released. Although he got out
of the car after the shooting, defendant Lango looked at him, said something, and he got back in.
(06/29/04, 37-55).

On cross examination, he admitted the statements he gave to the police were not
completely correct. He went through his statements, indicating which parts were true and which
were not, Te admitted he was being charged with what had occurred at the drugstore. He saw
defendant Lango go through deceased’s pockets after defendant Washington shot him.
Aftcrwards, he was threatened not io tell the potice. He admitted he lied to the police about
several items. He agreed he had worked out deal with Officer Newman, in that he agreed to help
him on other matters, and he would not be charged. In the instant case, he was not wearing a
mask, and did not get out of the car until the man got shot. He admitted he Hed to Dearborn
police. (06/29/04, 56-126; 06/30/04, 1 1-24).

Outside the presence of the jury, he denied writing a letter. (06/29/04, 126-131).

The court dealt with the letter defendant Stanley denied making. (06/30/04, 3-11).

It

:06-cv-12228-MOB-WC ECF No. 1, PagelD.44 Filed 05/16/06 Page 39 of 50
Defense rested, as did the codefendants. (06/30/04, 24),

Officer Newman was recalled. He denied he had a one-on-one conversation with
defendant Stanley, or promised to release him. After his interview with him, defendant Stanley
was turned over to another police agency. He did not immediately seek a warrant because he
was instructed by the prosecutor’s office to continue his investigation. (06/30/04, 25-39).

Jury instructions were reviewed. (06/30/04, 40-51). The court denied a request to give
the accomplice instruction as it applied to defendant Stanley (CJI2d 5.4 and 5.5), finding the
instruction as to witness credibility, CJ12d 3.6, was adequate.

Closing arguments were made by the prosecutor (06/30/04, 58-78, 110-1 19), defendant
Washington (06/30/04, 78-101), and defendant. (06/30/04, 101-110).

The jury was instructed. (06/30/04, 120-146).

The Jury requested further instructions as to whether or not the aiding and abetting charec
applied to the felony firearm charge as well as the assault with intent to murder charge. They
were re-instructed it applied only to the assaull charge. Defendant was found guilty as charged.
(7/01/04).

‘On July 21, 2004, before Judge Ewell, defendant was sentcuced to the mandatory terms
of life and two years respectively, [le was sentenced to 15-40 years on the assault with intent to
murder conviction.

Irom these convictions, defendant appeals as of right.

2

:06-cv-12228-MOB-WC ECF No. 1, PagelD.45 Filed 05/16/06 Page 40 of 50

ARGUMENTS

I. DEFENDANT-APPELLANT’S CONVICTIONS SHOULD BE
REVERSED BECAUSE THE TRIAL COURT ERRED 1N
FINDING THE STATEMENTS VOLUNTARY AND ERRED
IN THEIR ADMISSION AT TRIAL.

Standard of Review

A reviewing Court examines the entire record and makes an independent determination
of whether a defendant’s statement is voluntary. The trial court's findings will not be reversed

unless they are clearly erroneous. People v. Howard 226 Mich App 528, 543: 575 NW2d 16

(1997).

Although a inal court's findings of fact are entitled to deference, Howard, supra, its
application of constitutional standards is not. People v. Truons (After Remand) 218 Mich App
325, 334; 553 NW2d 692 (1996),

Questions of law are given de novo review. People v. Daoud 462 Mich 621, 629-630;

614 NW2d 152 (2000).
An appellate Court reviews decisions regarding the admission of evidence for an abuse of
discretion, However, where those decisions involve preliminary questions of law, review is de

novo. People y, Knapp 244 Mich App 361, 377; 624 NW2d 227 (2001): People v, Lukity 460

Mich 484, 488; 596 NW2d 607 (1999).

Walker Wearing

When reviewing a tral court's determination of voluntariness, this Court nvust examine
the entire record and make an independent determination, Deference is given to the trial court's

assessment of the weight of the evidence and credibility of the witnesses, and the trial court's

& 2:06-Cv-12228-MOB-WC ECF No. 1, PagelD.46 Filed 05/16/06 Page 41 of 50

findings will not be reversed unless they are clearly crronegus. People v. Howard 226 Mich App
528, 543; 575 NW2d 16 (1997).
As noted, review of lower court decisions involving questions of law are reviewed de

novo. Daoud, supra; Truong, supra.

Argument

In the instant case, defendant submits the trial court ered in finding the statements made
by defendant to be voluntary.

During the hearing, Defendant testified he was arrested at his mother's house without a
warrant, was handcuffed and taken to the 10th precinct, He acknowledged he signed the rights
form and requested an attorney. He was then led to a cell area where another ollicer talked to
him and he told that officer he wanted a lawyer present.

He was taken to the 13th precinct, where Officer Newman tatked to him again. He
refused that conversation and indicated an officer was pushing on his head. He believed they
were trying to intimidate him and believed they were playing the ‘good cop, bad cop’ routine.
He again requested a lawyer.

Eventually he started talking, because he was stressed out and believed if he did not, they
were not going to fet him go.

In contrast, Off. Newman, who interviewed defendant at a precinct, testified defendant
did not request a lawyer, only that he wanted to talk to his mother, He did agree defendant did
not want to talk to him. (3/26/04, 11-12, 17).

Off. Gulierrez, who interviewed defendant at police headquarters, also advised him of his
rights. The officer testified defendant did not request an attorney. (3/26/04, 31). One statement

was taken at 12:45 pm on 12/23/03; a second at 2:20 pm; a third at 4:45 pm. While there were

i4

f’2:06-Cv-12228-MOB-WC ECF No. 1, PagelD.47 Filed 05/16/06 Page 42 of 50
no significant breaks, he was advised of his rights only once, used the restroom twice, was
provided with minimal nourishment. At no time did he request an attorney. (3/26/04, 44),

Off. Parra assisted in transporting defendant from the precinct to police headquarters, and
denied touching defendant,

He had been arrested at approximately 7:00 am the previous day. He had been
transported to one precinct, then to headquarters the next day.

Once an accused invokes his Fifth Amendment right to an attomey, the police must
discontinue interrogation. It cannot be resumed without counsel prescnt unless the accused
initiates further communication with the police. He must be sufficient! y aware of his rights to

make a voluntary, knowing, and intelligent waiver of those ri ghis. Minnick v, Mississippi 498

US 146, 150; 111 SCt 486; 112 LEd2d 489 (1990); Edwards v. Arizona 451 US 477, 484-485-

101] SCt 1880; 68 LFd2d 378 (1981); People v. Slocum (On Remand) 219 Mich App 695, 697-

698; 558 NW2d 4 (1996); People v. McElhaney 215 Mich App 269, 274; 545 NW2d 18 (1996).

Here, defendant had invoked his right to an attomey several times. He did not initiate a
conversation with the officers. One officer agreed defendant did not want to talk and ended the
interview, After being transported to headquarters, he was again advised of his rights, and after
advising him of his rights, proceeded to interrogate him for at least four hours.

Whether a waiver of Miranda rights was voluntary is analyzed under a totality of the
circumstances test, cxammng the police conduct to determine whether the statements were the

product of a free and unconstrained choice. People v. Abraham 234 Mich App 640, 645: 599

NW2d 736 (1999); Howard, supra.
Reviewing the totality of the circumstances, assessing the credibility of the witnesses,
with deference given to the trial court, defendant submits the trial court erred in finding the

statements or voluntary.

15

2:06-cv-12228-MOB-WC ECF No. 1, PagelD.48 Filed 05/16/06 Page 43 of 50

They were the result of extreme pressure on defendant. He was concerned about his
mother’s house; he had been in custody for al least two days; he had requested an attommey
several times, but was ignored; after intense interrogation spanning at many hours, during which
time he was minimally fed, he broke down. He gave in and talked to the officers, believing he
would be released.

As such, reversal is required.

MRE 404(b)

Here, in connection with another case, the court determined the evidence of prior bad acts
showed 4 scheme and was not more prejudicial than probative. (MII, 04/04/04, 8-9).

In the instani case, defendant submits the trial court abused its discretion in admission of
several statements made by him, which were irrelevant to the issue al hand: whether he had
committed the within offenses.

The statements of defendant, implicating him in other offenses, were redacted and read
before the jury.

As noted, evidentiary errors are reviewed for an abuse of discretion, Knapp, supra;

Lukity, supra,; People y, Crawford 458 Mich, 376, 383: 582 NW2d 785 (1998),

While the rule is one of inclusion, People v, Pesquera 244 Mich App 305, 319; 625

NW2d 407 (2001), here, admission of the bad acts resulted in a miscarriage of justice. Lukity,
supra at 495.
In order to admit evidence of prior bad acts, pursuant to MRE 404(by", the court must

determine that the evidence is offered for a proper purpose under MRE 404(b), that it be relevant

~ MRE 404(b) states: (1) Evidence of other crimes, wrongs, of acts Is not admissible to prove the
character of a person in order to show action in conformity therewith. It may, however, be
admissible for other purposes, such as proof of motive, Opportunity, intent, preparation, scheme,

16

2:06-Cv-12228-MOB-WC ECF No. 1, PagelD.49 Filed 05/16/06 Page 44 of 50
under MRE 402 as enforced through MRE 104(b), that the probative valuc of the evidence is noi
substantially outweighed by unfair prejudice, and the trial court may, upon request, provide a

limiting instruction to the jury. People v. VanderVliet 444 Mich 52, $5: 508 NW2d 114 (1993),

amended 445 Mich 1205 (1994).

Here, the prosecution sought to introduce the evidence of prior bad acts to show a
common plan or scheme: that defendant went on a robbing spree.

While defendant recognizes it may have been admitted for a proper purpose, he submits
the court failed to determine its relevancy, and erred in finding their probative value was not
substantially outweighed by unfair prejudice.

Here, the only similarities between the offenses contained in the statements were that
they were robberies. There was no logical relevance between the admitted bad acts and to the
charecd offenses.

If defendant Stanley's testimony were to be beheved, it was a spur of the moment
occurrence, while he was being taken back to his house, The situation was completely different
from what defendant Stanley had testified to concermny the drugstore robbery/carjacking, He
had not been involved in the other homicide/robbery.

The evidence against defendant was not overwhelming. Without the statements of
defendant, it consisted of the testimony of one witness, Mr. Bannah and the questionable
testimony of defendant Slanley, who claimed involvement in the offenses under duress, Mr.

Barmon was unable to identify anyone, and his description of the driver did not match defendant.

plan, or system in doing an act, knowledge, identity, or absence of mistake or accident when the
same is material, whether such other crimes, wrongs, OF acts are contemporaneous with, or prior
ov subsequent to the conduct at issue in this case.
2:06-Cv-12228-MOB-WC ECF No.1, PagelD.50 Filed 05/16/06 Page 45 of 50

Thus there was no demonstration of a concurrence of common features between the
charged and uncharged acts such that the charged acts were naturally to be explained as being
caused by a general plan of which the events were individual manifestations. See People vy.
Sabin (After Remand) 463 Mich 43, 63; 614 NW2d 888 (2000).

While the jury was given the cautionary instruction (06/30/04, 134), and jurors are

presumed to follow the instructions, People v. Graves 458 Mich 476, 486, 58] NW2d 229
(1998), that did nothing to dispel the substantial prejudicial effect of the bad acts contained in the
statements.

If the yury had not been aware of these bad acts, i.c., ifthe statements had been excluded,
the prosecutor would not have been able to reference them in her closing arguments (6/30/04,
67), and it was more probable than not that there would have been a different result. Lukity,
supra. The Jury would have heard defendant’s involvement rested upon only one eyewitness,
and the questionable testimony of defendant stanley,

As such, the trial court erred in admission of the statements of defendant containing poor
bad acts, in that they were substantially more prejudicial than probative of the issue at hand,

whether defendant committed the charged offenses, requiring reversal.

Be 2:06-Cv-12228-MOB-WC ECF No. 1, PagelD.51 Filed 05/16/06 Page 46 of 50

If. DEFENDANT-APPELLANT IS ENTITLED TO A NEW TRIAL ©
WHERE THE TRIAL COURT GRANTED AN ADJOURNMENT
FOR OVER ONE WEEK.

Standard of Review

Requests for adjournment are addressed to the trial court’s discretion and the decision will
hot be overturned absent an abuse of discretion, People v. Bettistea 173 Mich App 106, 124; 434

NW2d 138 (1988); People v. Williams 386 Mich 565, 571-572: 194 NW2d 337 (1972).

Adjournments or continuances are not to be granted except for good cause shown.

People vy. Sckoian 169 Mich App 609, 613; 426 NW2d 412 (1988). lv den 431 Mich 869 (1988).

Tn reviewing this question, this Court must consider whether defendant is asserting a
constitutional right, whether there is a legitimate reason for asserting the right, whether
defendant is guilty of neghgence, whether adjourmments were al defendant's behest, and whether
prejudice to defendant will result. People v. Wilson 397 Mich 76, 81; 243 NW2d 248 (1976),
(1986).

On appeal, reversal is mandated only upon a finding of an abuse of discretion which

resulted in prejudice to the accused. Wilson, supra; People vy. Gross 113 Mich App 161, 164;

324 NW2d 557 (1982); MCL 769.26.
An abuse of discretion is found where an unprejudiced person, considering the facts on
which the trial court acted, would say there was no justification or excuse for the ruling made,

People y, Snider 239 Mich App 393, 419, 608 NW2d 502 (2000), or the result is so palpably and

vrossly violative of fact and logic that it evidences a perversity of will, a defiance of judgment,

or the exercise of passion or bias. People v. Hine 467 Mich 242, 250: 650 NW2d 659 (2002).

9

Be 2:06-cv-12228-MOB-WC ECF No.1, PagelD.52 Filed 05/16/06 Page 47 of 50
Argument

In the instant case, defendant submits the trial court abused its discretion in adjouming
the tal for over one week at the request of the prosecutor, whcre there was no valid reason for
the court not to continue the procecdings against defendant.

Apparently, the reason for the adjournment was due to an illness of defendant Stanley.
(06/29/04, 128). However, it was unclear at the time of the adjournment whether he would be
testilying or what he would be testifying to if he was goin # to testify.

Application of the standards relative to the continuance demonstrates the court abused it
discretion in granting the request.

Defendant was not asserting his constitutional right, nor was it at his behest. The request
was made by the prosecution.

The question of whether there was a legitimate reason for the request did not appear to be
sound. While the prosecution did not want to call her witnesses twice, there was no reason to go
forward with defendant’s case, in that he had a separate jury than defendant Stanley. There were
witnesses who were ready to testify, besides defendant Stanley. Once trial resumed, the
prosecution called police officers Jackson and Staples to testify.

There was no negligence on defendant’s part. On the contrary, he objected to the
continuance, noting the prejudicial effect the continuance would have on his jury: defendant was
ready to proceed with the trial, which had been entering its third week. Numerous witnesses had
already testified and it was more probable than not that with the adjournment, that testimony
would be significantly minimized, in that the court prohibited the jury from note-taking. The
Jury would focus more upon the testimony of the witnesses presented after trial had resumed,
including defendant Stanley, as opposed to considering the testimony of all the witnesses in

making its decision as to defendant's guilt.

20
2:06-Cv-12228-MOB-WC ECF No. 1, PagelD.53 Filed 05/16/06 Page 48 of 50

Tt was clear that this adjournment was not for good cause, nor granted with a view
towards speedy and substantial justice. See MCR 2.503: MCL. 768.2. On the contrary, even the
court was confused as to why it was required to grant the adjournment, requesting from the
prosecutor information as to why he the court had no choice but io grant the adjournment.

(06/17/04, 7).

Defendant therefore submits the court abused its discretion in granting the extensive

adjournment.

21
2:06-Cv-12228-MOB-WC ECF No. 1, PagelD.54 Filed 05/16/06 Page 49 of 50

III. DEFENDANT-APPELLANT’S CONVICTIONS SHOULD BE
REVERSED BECAUSE THE JURY WAS NOT PROPERLY
INSTRUCTED AS HOW TO CONSIDER THE TESTIMONY
OY ANOTHER DEFENDANT.

Standard of Review

Where there are questions involving the fury instructions, review is de novo. People v.

Perez 469 Mich 415, 418; 670 NW2d 655 (2003): People v. Marion 2450 Mich App 446, 448; 647

NWe2d $21 (2002).

A trial court is required to give requested instructions only if the instructions are
supported by the evidence or the facts of the case. People v. Ho 231 Mich App 178, 189; 585
NW2d 357 (1998).

If.an applicable instruction was not given, the defendant must show that the court’s

failure to give the requested instruction resulted in a miscarriage of justice. People v. Riddle 467

Mich 116, 124, 649 NW2d 30 (2002).

The mstructions are lo be read as a whole rather than extracted piecemeal to establish
error, and even if somewhal impertect, Lhere is no error if the instructions fairly presented the
issues to be ied and sufficiently protected the defendant's rights. They must include all
elements of the crime charged and maust not exclude consideration of material issues, defenses
and theories for which there is evidence in support. People v. Rodriguez 463 Mich 466, 472-
474: 620 NW2d 13 (2000); People y. Danie! 207 Mich App 47, 53; 523 NW2d 830 (1994).

Where a requested imstruction is not given, the defendant bears the burden of establishing
that this constituted a miscarriage of justice. MCL 769.26: Riddle, supra; Rodriguez, supra;

Lukity, supra.
2:06-Ccv-12228-MOB-WC ECF No.1, PagelD.55 Filed 05/16/06 Page 50 of 50
Arsument

Here, defendant submits the trial court erred in denying the defense request to instruct his
jury as to how to consider the testimony of defendant Stanley.

This issue was preserved Jor review, as defense had requested the jury instruction, as it
related to an accomplice.

The court denied the request, noting the instruction on witness credibility, CJI2d 3.6, was
adequate, because of defendant Stanley’s position. (6/30/04, 44-45),

Defendant's jury had heard testimony from defendant Stanley, who claimed he was
involved not only in the charged offense, but at least one other armed robbery involving
defendant. He advanced the theory he was involved not by choice, but his involvement was
under duress. Thus he admitted his involvement, albeit for a different reason.

Defendant submits the jury should have been instructed at the very least, to consider his

testimony as a disputed accomplice, CJI2d 5.5, Witness a Disputed Accomplice and been

cautioned in accordance with CJI2d 5.6 Cautionary Instruction Regardiny Accomplice

Festimay.
As applied to this case, the instructions would have read as follows:

(1) Before you may consider what Mr. Stanley said in court, you must
decide whether he took part in the crime the defendant is charged with committing.
Mr, Stanley has not admitted taking part in the crime, but there is evidence that
could lead you to think that he did.

(2) A person who knowingly and willingly helps or cooperates with
someone else in commilting 4 crime is called an accomplice.

(3) When you think about Mr. Stanley’s testimony, frst decide if he was an
accomplice. Lf, after thinking about all the evidence, you decide that he did not
take part in this crime, judge his testimony as you judge that of any other witness.
But, if you decide that Mr. Stanley was an accomplice, then you rust consider his
testimony in the following way: (CJI2d 5.5}

(1) You should examine an accomplice's testimony closely and be very
carclul about accepting it.
